                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

                                                            )
In re:                                                      )        Chapter 11
                                                            )
REMINGTON OUTDOOR COMPANY, INC.,                            )        Case No. 20-81688-CRJ11
et al.,1                                                    )
                                                            )        Jointly Administered
                                  Debtors.                  )

    BANKRUPTCY ADMINISTRATOR’S LIMITED OBJECTION TO DEBTORS’
       MOTION FOR ORDERS PURSUANT TO 11 U.S.C. §§ 105, 361, 362, 363,
364, 503 AND 507 (I) AUTHORIZING USE OF CASH COLLATERAL, (II) GRANTING
ADEQUATE PROTECTION, (III) MODIFYING AUTOMATIC STAY, (IV) GRANTING
          RELATED RELIEF, AND (V) SCHEDULING A FINAL HEARING

        The Bankruptcy Administrator hereby files this limited objection to releases in Debtors’
Motion for Orders Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364, 503 and 507 (I)
Authorizing Use of Cash Collateral, (ii) Granting Adequate Protection, (iii) Modifying
Automatic Stay, (iv) Granting Related Relief, and (v) Scheduling a Final Hearing and sets forth
the following:

        1. The Debtors seek entry of an order (a) authorizing the Debtors to, among other
things, (I) use Cash Collateral subject to the terms described in the Interim Order and Final
Order, and (ii) grant the Pre-petition Secured Creditors adequate protection of their interests in
the Prepetition Collateral, and (b) scheduling and establishing deadlines relating to the Final
Hearing and order authorizing the Debtors to use Cash Collateral. As part of the order
authorizing use of cash collateral, the Debtors seek to release

         “each Prepetition Secured Creditors, and each of their respective successors,
         assigns, participants, representatives, owners, members, partners, financial
         advisors, investment advisors (including, without limitation, employees of
         investment advisors), legal advisors, managers, consultants, accountants,
         predecessors in interest, affiliates, subsidiaries, parents, officers, shareholders,
         directors, employees, attorneys and agents, past, present and future, and their
         respective heirs, predecessors, successors and assigns.”



         1
           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC
(9899); FGI Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC
(8510); TMRI, Inc. (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution
Company, LLC (4655); Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco,
LLC (7744); and Outdoor Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics
Boulevard SW, Huntsville, AL 35824.




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       2. The Debtors’ as part of the Cash Collateral Order seek to provide that the releases
granted by the Debtors shall be binding on, any trustee or other representative appointed in the
Cases, whether such trustee or representative is appointed in Chapter 11 or Chapter 7. The Court
should not bind a future trustee with broad releases of potential claims against the pre-petition
secured creditors.

        3. The Debtors have filed a Bid Procedures Motion and seek to sell most, if not all, of the
Debtors’ assets through a sale process under Section 363 of the Bankruptcy Code. If a sale of the
Debtors’ assets is approved, there will likely be nothing left for the Debtors’ to reorganize and
case may be converted to a Chapter 7. The Court must balance the interests of the Debtors’ in
the use of cash collateral against the interests of unsecured creditors in these cases. The Court
should not at this early stage of the case bind a future trustee with a release of potential pre-
petition claims against the Secured Creditors.

         4. The proposed Cash Collateral Order would seek to make the releases granted to the
Prepetition Secured Creditors binding upon all parties-in-interest, any trustee appointed in these
cases and any Committee, after an extremely short challenge period of thirty (30) calendar days
from the entry of this Interim Cash Collateral Order. The short challenge period makes the
restrictions on the rights of the Unsecured Creditors Committee and future trustee to pursue
potential causes of action against the Prepetition Secured Creditors even more objectionable.

       5.       The Bankruptcy Administrator reserves the right (I) to join in the objections of
other parties in interest, including without limitation any objection of the Official Committee of
Unsecured Creditors, (ii) to raise further and other objections to the Motion prior to or at the
hearing, and to amend, supplement or modify this Objection at any time prior to the hearing on
the Motion, and (iii) to be heard before this Court with respect to the subject matter of this
Objection or any other objection raised to the Motion.

        WHEREFORE, the Bankruptcy Administrator files this limited objection to the inclusion
of releases binding upon a chapter 11 or chapter 7 trustee in the Final Cash Collateral Order and
requests such other and further relief as the Court deems just and appropriate.

       Respectfully submitted August 7, 2020.

                                              J. THOMAS CORBETT
                                              United States Bankruptcy Administrator for the
                                              Northern District of Alabama
                                              /s/ Richard M. Blythe
                                              Richard M. Blythe
                                              Assistant U.S. Bankruptcy Administrator
                                              Alabama Bar ID: ASB-3199-B52R

OF COUNSEL:
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Northern District of Alabama




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                                CERTIFICATE OF SERVICE

        I hereby certify that on August 7, 2020, I have served a copy if the foregoing on the
parties listed below by electronic service through the Court’s CM/ECF system and/or by placing
a copy of the same in the U.S. Mail, postage prepaid.

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